                     IN THE UNITED STATES DISTRICT COURT FOR THE
                             WESTERN DISTRICT OF MISSOURI
                                  WESTERN DIVISION

UNITED STATES OF AMERICA,                      )
                                               )
        Plaintiff,                             )
                                               )
        v.                                     )          No. 12-00363-14-CR-W-DGK
                                               )
KIMBERLY JOY BLACK-MCCORMICK,                  )
                                               )
        Defendant.                             )

                                           ORDER

        Pending before the Court are Defendant’s Motion to Suppress (Doc. 338), the

Government’s response (Doc. 341), and United States Magistrate Judge John T. Maughmer’s

Report and Recommendation (Doc. 397). The Court has also reviewed the transcript from the

suppression hearing (Doc. 354).

        After carefully reviewing the Magistrate’s report and conducting an independent review

of the record and applicable law, the Court ADOPTS the Report and Recommendation (Doc.

397) and DENIES Defendant’s Motion to Suppress Evidence (Doc. 338).

        IT IS SO ORDERED

Date:    December 10, 2014                       /s/ Greg Kays
                                               GREG KAYS, CHIEF JUDGE
                                               UNITED STATES DISTRICT COURT




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